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 4                             UNITED STATES DISTRICT COURT

 5                                    DISTRICT OF NEVADA

 6 Terrance E. Williams,                                 Case No.: 3:21-cv-00133-MMD-WGC

 7          Plaintiff,                                                   Order

 8 v.

 9 RYALS, et al.,

10          Defendants.

11

12         Before the Court is Defendants’ Motion to Extend Discovery Deadlines (ECF No. 34),

13 asking to extend the discovery deadline forty-five days, or until February 11, 2022. Good cause

14 appearing, the Court grants the motion in-part and sets the following discovery deadlines:

15         Deadline for completion of discovery:               March 25, 2022
           Deadline for filing dispositive motions:            April 29, 2022
16         Deadline for Joint Pretrial Order:                  May 27, 2022 (if no dispositive
           motions are pending.)
17
           IT IS SO ORDERED.
18
           Dated: November 30, 2021.
19
                                                           _________________________________
20                                                         William G. Cobb
                                                           United States Magistrate Judge
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